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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Valentino Rossi
                                 Plaintiff,
v.                                                   Case No.: 1:20−cv−04828
                                                     Honorable Thomas M. Durkin
195mph Limited, et al.
                                 Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, November 30, 2020:


       MINUTE entry before the Honorable Thomas M. Durkin: Pursuant to notice of
voluntary dismissal, this action is dismissed without prejudice. Each party shall bear its
own attorney's fees and costs. Civil case terminated. Mailed notice. (ecw, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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